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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

MILDRED S. THOMPSON,

                           Plaintiff,

-vs-                                               Case No. 5:04-cv-522-Oc-10GRJ

RINKER MATERIALS OF FLORIDA, INC.,

                    Defendant.
______________________________________

                                          ORDER

       This is a sexual discrimination action under Title VII and also an action under Florida

law for tortious interference with contractual relationship. The case is before the Court on

Defendant Rinker Materials of Florida, Inc.’s motion (Doc. 5) to dismiss the Plaintiff’s

tortious interference claim for failure to state a claim, or, alternatively, for judgment on the

pleadings. The Plaintiff has responded (Doc. 6). Upon due consideration, the Defendant’s

motion is due to be denied.

                                   Background and Facts

       The following facts are alleged in the complaint and will be accepted as true. This

action arises out of the employment of the Plaintiff, Mildred Thompson, with the Defendant,

Rinker Materials of Florida, Inc. (“Rinker” or “the Defendant”). Rinker is engaged in the

construction materials industry in Florida. From May of 1994 to April of 2003, the Plaintiff

was employed as a materials transport driver for Rinker. Her job was to transport materials,

mainly sand and rock, from quarries and railroad depots to Rinker plants around the state.
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      In June of 2002, the Defendant began to treat the Plaintiff differently than her male

co-workers with respect to job opportunities and compensation. She was routinely told she

was not needed for the day and sent home, only to discover that her usual jobs had been

assigned to men who were less or no more qualified than she. Also, the Plaintiff was

subjected to a hostile work environment, which included continuous unwelcome sexual

advances and unsolicited touching. When she complained of the disparate treatment and

harassment, she was retaliated against and eventually fired.

      Following her termination from the Defendant, the Plaintiff was hired as a material

transport driver for a company called Florida Aggregate (“Florida Ag”). As part of her duties,

she was to deliver materials to various Rinker plants in central Florida. When the

Defendant learned that the Plaintiff was making deliveries to its plants, it told Florida Ag

that the Plaintiff was not permitted to make deliveries to its facilities and “intentionally

sought” termination of the Plaintiff from Florida Ag.1 As a result of the Defendant’s

intentional conduct, the Plaintiff was “denied the opportunity to continue employment with

Florida Ag and thereafter was essentially forced to terminate her employment with Florida

Ag and relocate.”2 The Plaintiff filed her EEOC complaint against the Defendant in February

of 2004, after the alleged interference occurred.3




      1
          Doc. 1, at ¶ 69.
      2
          Id., at ¶ 68.
      3
          Id., at ¶¶ 16 & 67.
                                              2
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         The Plaintiff’s complaint is framed in two counts: (1) sexual discrimination in violation

of 42 U.S.C. § 2000e, et seq. (“Title VII”); and (2) tortious interference with contractual

relations. The Defendant moves to dismiss count two for failure to state a claim, or

alternatively for judgment on the pleadings.4 The Plaintiff opposes the motion and seeks

leave to amend if necessary.

                                    Motion to Dismiss Standard

         Determining the propriety of granting a motion to dismiss requires courts to accept

all the factual allegations in the complaint as true and to evaluate all inferences derived

from the facts in the light most favorable to the plaintiff.5 In passing on a motion to dismiss

under Rule 12(b)(6), the Court is mindful that “[d]ismissal of a claim on the basis of

barebones pleadings is a precarious disposition with a high mortality rate.”6 As the

Supreme Court declared in Conley v. Gibson, a complaint should not be dismissed for

failure to state a claim unless it appears “beyond doubt that the plaintiff can prove no set




         4
          The Court notes that insofar as the Defendant seeks judgment on the pleadings under
Rule 12(c), the motion is procedurally improper. A party may move for judgment on the pleadings
“[a]fter the pleadings are closed.” Fed. R. Civ. P. 12(c). The pleadings are not closed because the
Defendant has not answered the complaint. See Strategic Income Fund, LLC v. Spear, Leeds &
Kellogg Corp., 305 F.3d 1293, 1295 n.8 (11th Cir. 2002). Regardless, the standard is the same
under either Rule 12(c) or Rule 12(b)(6). Id.; Burnette v. Carothers, 192 F.3d 52, 45 (2d Cir. 1999)
(“In deciding a Rule 12(c) motion, we apply the same standard as that applicable to a motion
under Rule 12(b)(6), accepting the allegations contained in the complaint as true and drawing all
reasonable inferences in favor of the nonmoving party.”).
         5
             See, e.g., Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1273 n.1 (11th Cir. 1999).
         6
             Int'l Erectors, Inc. v. Wilhoit Steel Erectors & Rental Serv., 400 F.2d 465, 471 (5th Cir.
1968).
                                                     3
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of facts in support of his claim that would entitle him to relief.”7 Thus, if a complaint “shows

that the Plaintiff is entitled to any relief that the Court can grant, regardless of whether it

asks for the proper relief,” it is sufficiently plead.8

       “[T]he threshold of sufficiency that a complaint must meet to survive a motion to

dismiss for failure to state a claim is exceedingly low.”9 Federal Rule of Civil Procedure 8(a)

requires only a “short and plain statement of the claim showing that the pleader is entitled

to relief.”10 Liberal notice pleading standards embodied in Rule 8(a) “do not require that a

plaintiff specifically plead every element of a cause of action”11 or set out in precise detail

the specific facts upon which she bases her claim.12 The complaint need only “contain

either direct or inferential allegations respecting all the material elements necessary to

sustain a recovery under some viable legal theory.”13




       7
        Conley v. Gibson, 355 U.S. 41, 45-46 (1957). See also Cook & Nichol, Inc. v. Plimsoll
Club, 451 F.2d 505 (5th Cir. 1971).
       8
           Dotschay v. Nat. Mut. Ins. Co., 246 F.2d 221 (5th Cir. 1957).
       9
        Quality Foods de Centro Am. S.A. v. Latin Am. Agribusiness Develop. Corp., 711 F.2d
989, 995 (11th Cir. 1983).
       10
            Fed. R. Civ. P. 8(a)(2).
       11
            Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th Cir. 2001).
       12
            Conley, 355 U.S. at 47.
       13
        Roe, 253 F.3d at 683 (quoting In re Plywood Antitrust Litig., 655 F.2d 627, 641 (5th Cir.
Unit A Sept. 8, 1981)).
                                                  4
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                                             Discussion

       Under Florida law, a claim for tortious interference with a business or contractual

relationship requires a showing of both an intent to damage the business relationship and

a lack of justification to take the action which caused the damage.14

       The Plaintiff has met her burden of pleading direct or inferential allegations

respecting the material elements of her claim.15 She has adequately pled that the

Defendant directly and intentionally interfered with her employment relationship when it told

her employer, Florida Ag, that the Plaintiff was not permitted to make deliveries to any

Rinker plant.16 These allegations are also sufficient for the purposes of a motion to dismiss


       14
            Smith v. Emery Air Freight Corp., 512 So. 2d 229, 230 (Fla. 3d DCA 1987).
       15
          The elements of a tortious interference claim are: “(1) the existence of a contractual
relationship that affords the plaintiff existing or prospective legal rights; (2) the defendant’s
knowledge of the relationship; (3) the defendant’s intentional and unjustified interference with the
relationship; and (4) damage to the plaintiff.” Int’l Sales & Serv., Inc. v. Austral Insulated Prods.,
Inc., 262 F.3d 1152, 1154 (11th Cir. 2002) (citing Ethan Allen, Inc. v. Georgetown Manor, Inc., 647
So. 2d 812, 814 (Fla. 1994)). Florida courts hold that “an action will lie where . . . a party tortiously
interferes with a contract terminable at will.” McCurdy v. Collis, 508 So. 2d 380, 383 n.6 (Fla. 1st
DCA 1987). The Defendant does not contest that the Plaintiff has adequately pled that a
contractual employment relation existed, that it was aware of that relationship, and that the Plaintiff
suffered damages.
       16
          In support of its argument to the contrary, the Defendant cites two decisions which are
factually distinguishable, including this Court’s decision in Mora-Gillespie v. Merrill, Lynch, Pierce,
Fenner & Smith, Inc., No. 5:99-cv-93-Oc-10C, 2000 WL 33323082 (M.D. Fla. Feb. 3, 2000)
(Hodges, J.). In that case, the Court dismissed the plaintiff’s intentional interference claim
because, in addition to failing to allege a business relationship, the plaintiff failed to allege actions
on the part of the defendants amounting to intentional interference. The plaintiff in that case
alleged that her former employer refused to discuss the plaintiff’s employment with a prospective
employer and had instead angrily directed the prospective employer to speak with his attorney.
The Court concluded that the plaintiff’s bare allegation that the prospective employer inferred from
this conduct that the plaintiff was a problematic employee, even if true, did not constitute
intentional interference. In this case, conversely, it is alleged that the Defendant intentionally
contacted the Plaintiff’s employer and demanded that the Plaintiff not be permitted to perform her
duties on the Defendant’s premises.
                                                   5
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to allege that the Defendant’s conduct was unjustified, i.e., without a legitimate business

purpose and motivated only by malice towards the Plaintiff for her discrimination

complaints.17

      The Defendant contends the Plaintiff has failed to state a claim for relief because

the allegations in the complaint show that its conduct was justified or privileged as a matter

of law. No business justification for denying the Plaintiff access to deliver materials to the

Defendant’s facilities is apparent on the face of the complaint. However, the Defendant

nevertheless argues for dismissal because the tortious interference claim is based solely

on the Defendant’s exercise of its fundamental right to exclude from its property whomever

it wants, regardless of its malicious purpose. The Defendant has cited no cases that

support its position, and Florida courts have held that the right to exclude persons from

business property alone, absent a legitimate business purpose for doing so, will not excuse

intentional interference with a business relationship.

      For example, in McCurdy v. Collis,18 the plaintiff sued the Exxon Corporation for

tortious interference with his employment as a foreman for a welding subcontractor that

performed nearly all of its work at Exxon plants. The plaintiff’s employer took the plaintiff

off all of its Exxon jobs after Exxon expressed concerns to the employer that the plaintiff

was a safety risk to its facilities and insisted that the plaintiff would not be permitted to work

on Exxon’s properties. Eventually the plaintiff was discharged because his employer could



      17
          See, e.g., McCurdy, 508 So. 2d at 383 (“It is only when malice is the sole basis for
interference that it will be actionable.” (emphasis in original)).
      18
           Id.
                                                6
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find no other job for him that did not entail working at Exxon. The appellate court concluded

an issue of fact existed as to whether Exxon’s decision was solely motivated by malice

towards the plaintiff because the evidence of the plaintiff’s safety risk was questionable and

the decision to exclude the plaintiff was made shortly after the plaintiff won a sizeable

verdict against Exxon for injuries sustained in an industrial accident. Whether intentional

interference is justified, the court reasoned, “depends upon a balancing of the importance,

social and private, of the objective advanced by the interference against the importance of

the interest interfered with, considering all circumstances among which the methods and

means used and the relation of the parties are important.”19 Thus, while Exxon may have

had a qualified privilege to exclude the plaintiff from its premises in pursuit of its legitimate

interest in safety, that privilege could not be exercised purely out of malice.




       19
          Id. at 384 (quoting Ins. Field Serv., Inc. v. White & White Inspection & Audit Serv., Inc.,
384 So. 2d 303, 306-07 (Fla. 5th DCA 1980)). The court in McCurdy also looked to the factors
listed in RESTATEMENT (SECOND) OF TORTS § 767 in determining whether an issue of fact existed
as to the propriety of the interference. Section 767 reads:

              In determining whether an actor’s conduct in intentionally interfering
              with a contract or a prospective contractual relation of another is
              improper or not, consideration is given to the following factors:
              (a) the nature of the actor’s conduct,
              (b) the actor’s motive,
              (c) the interest of the other with which the actor’s conduct interferes,
              (d) the interest sought to be advanced by the actor,
              (e) the social interests in protecting the freedom of action of the actor
              and the contractual interests of the other,
              (f) the proximity of remoteness of the actor’s conduct to the
              interference, and
              (g) the relations between the parties.
                                                 7
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      Similarly, in Lore v. Barr,20 the plaintiff sued Winn Dixie for tortious interference with

his employment as a beverage sales person when Winn Dixie told the plaintiff’s employer

that it did not want the plaintiff to service its stores. The plaintiff had previously been an

employee of Winn Dixie, and Winn Dixie suspected the plaintiff of stealing a large sum of

money from it just before leaving its employ. As a result of Winn Dixie’s actions the

plaintiff’s employer removed Winn Dixie stores from the plaintiff’s sales territory, drying up

a significant portion of the plaintiff’s sales commissions and effectively forcing the plaintiff

to terminate his employment. The appellate court concluded an issue of fact existed as to

whether Winn Dixie’s actions were actually motivated solely by malice towards the plaintiff.

      These cases stand for the proposition that although a business may enjoy a qualified

privilege to exclude a person from its premises, it may not exercise that privilege solely with

the malicious purpose of interfering with that person’s business relationship.21 Nothing in

the complaint suggests that the Defendant had any legitimate reason, such as safety

concerns, to exclude the Plaintiff. Thus, the Defendant has identified no basis for dismissal

of this claim.



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           771 So. 2d 589 (Fla. 1st DCA 2000).
      21
           For examples of Florida cases holding as a matter of law that a defendant’s decision to
exclude a party from its business premises was justified see Smith v. Emery Air Freight Corp., 512
So. 2d 229, 230 (Fla. 3d DCA 1987) (concluding that the defendant’s decision to exclude the
plaintiff, an employee of its independent contractor, from entering its business premises was
justified because it was motivated by the legitimate purpose of preventing future altercations
between the plaintiff and the defendant’s workers and stating, “A business has the right to bar a
person from its premises when such action is based on a founded safety concern.”) and Fla.
Power & Light Co. v. Fleitas, 488 So. 2d 148 (Fla. 3d DCA 1986) (concluding that the defendant
was privileged to bar the plaintiff, an employee of its subcontractor, from the premises of its
nuclear power plant on a founded suspicion of illegal drug use).
                                                 8
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                                      Conclusion

      Accordingly, upon due consideration and for the forgoing reasons, it is ordered that

the Defendant’s motion to dismiss (Doc. 5) is DENIED.

      IT IS SO ORDERED.

      DONE and ORDERED at Ocala, Florida this 26th day of April, 2005.




Copies to:   Counsel of Record
             Maurya McSheehy




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